O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                         for the
                                                        Western District of North Carolina

                     United States of America                              )
                                v.                                         )
                                                                           )   Case No: 5:98CR68-2
                       Paul Holland Cockeran
                                                                           )   USM No: 13488-058
Date of Previous Judgment: 10/1/99                                         )   Noell P. Tin
(Use Date of Last Amended Judgment if Applicable)                          )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 210 months  months is reduced to 168 months                .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    35                Amended Offense Level:                                            33
Criminal History Category: III               Criminal History Category:                                        III
Previous Guideline Range:  210 to 262 months Amended Guideline Range:                                          168       to 210   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):

III. ADDITIONAL COMMENTS
To the extent that Cockeran seeks a further reduction of his sentence based on his health, this court is unable to grant the
requested relief. A resentencing pursuant to § 3582(c)(2) is not a de novo proceeding, but merely a form of limited
remand. As such, this court may only consider the effect of the retroactive amendment, not other sentencing or guideline
issues. See United States v. Smith, 11 Fed. Appx. 165 (4th Cir. 2001) (unpublished).

It is further ordered that as a condition of supervised release the defendant shall submit to the local Residential Reentry
Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation Officer.


Except as provided above, all provisions of the judgment dated                     10/1/99            shall remain in effect.
IT IS SO ORDERED.

Order Date:          December 17, 2008


Effective Date:
                       (if different from order date)

                    Case 5:98-cr-00068-RLV                       Document 307            Filed 12/18/08        Page 1 of 1
